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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                        Case No. 11-cr-52-PB

James Karahalios, et al.



                               O R D E R


     Defendant Patrick Chasse has moved through counsel to

continue the June 7, 2011 trial in the above case to September

20, 2011, citing an impending superseding indictment and

complexity of the case which require         additional time to prepare

for trial.   The government and co-defendants, James and Matthew

Karahalios, do not object to a continuance of the trial date.

     Accordingly, in order to allow the parties additional time

to properly prepare for trial, the court will continue the trial

from June 7, 2011 to September 20, 2011.        In agreeing to

continue the trial, the court finds pursuant to 18 U.S.C.A. '

3161(h)(7)(A) that for the above-stated reasons, the ends of


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justice served in granting a continuance outweigh the best

interests of the public and the defendants in a speedy trial.

       The court will hold a final pretrial conference on Tuesday,

August 30, 2011 at 4:00 p.m.

       SO ORDERED.



                                          /s/Paul Barbadoro
                                          Paul Barbadoro
                                          United States District Judge

May 9, 2011

cc:    John Paul Kacavas, Esq.
       Terry Ollila, Esq.
       Kevin E. Sharkey, Esq.
       Bjorn Lange, Esq.
       Andrew Schulman, Esq.
       United States Marshal
       United States Probation




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